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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

JP MORGAN CHASE BANK, NATIONAL     )
ASSOCIATION,                       )
                                   )
                       Plaintiff,  )
                                   )
           v.                      )                        Case No. 1:19-CV-05770
                                   )
ROBERT KOWALSKI, AKA ROBERT M.     )
KOWALSKI; UNKNOWN OWNERS AND       )
NON-RECORD CLAIMANTS; CHICAGO      )                       1512 W. Polk Street
TITLE LAND TRUST COMPANY s/i/i TO  )                       Chicago, IL 60607
BRIDGEVIEW BANK GROUP FKA          )
BRIDGEVIEW BANK AND TRUST COMPANY, )
AS TRUSTEE UNDER TRUST AGREEMENT   )
DATED APRIL 24, 1993 AND KNOWN AS  )
TRUST NUMBER 1-2228; MARTHA        )
PADILLA; FEDERAL DEPOSIT INSURANCE )
CORPORATION, AS RECEIVER FOR       )
WASHINGTON FEDERAL BANK FOR        )
SAVINGS,                           )
                                   )
                       Defendants. )

                        JOINT STATUS REPORT ON DISCOVERY

       The parties hereby jointly submit this Status Report on Discovery pursuant to Court Order.

(See Dkt. 133).

       A. STATUS OF DISCOVERY TO DATE.

              1.      Defendant Federal Deposit Insurance Corporation, as Receiver for

Washington Federal Bank for Savings ("FDIC-R") and Defendant Martha Padilla ("Padilla") have

served written discovery requests on Plaintiff JPMorgan Chase Bank, N.A. ("Chase") and each

other. FDIC-R recently served a Second Set of Requests for Production on Chase. Chase's

responses to the FDIC-R's Second Set of Requests for Production are due on June 24, 2021. FDIC-

R also has served third-party subpoenas for documents, some of which still are outstanding.
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               2.      Consistent with the CARES Act and local regulations on foreclosures and

evictions, Chase has refrained from serving discovery requests or otherwise advancing this

foreclosure during the global pandemic. Chase intends to serve written discovery requests and any

third-party subpoenas for records no later than June 7, 2021.

               3.      Defendant Padilla may serve additional written discovery requests on Chase

and FDIC-R, and will serve written discovery requests on Third-Party Defendant First Midwest

Bank ("First Midwest").

       B. PROPOSED SCHEDULE FOR COMPLETION OF FACT DISCOVERY.

               1.      The parties (with the exception of First Midwest) propose completion of

fact discovery, including all written discovery and depositions, by September 30, 2021.

               2.      On May 28, 2020, First Midwest moved to dismiss the Third-Party

Complaint. (Dkt. 54). On November 4, 2020, the Court dismissed the Third-Party Complaint with

prejudice. (Dkt. 98). Padilla moved for reconsideration of the with-prejudice dismissal, which the

Court granted. On March 19, 2021, Padilla filed her First Amended Third-Party Complaint against

First Midwest (the "Amended Complaint"). (Dkt. 121). On or before June 17, 2021, First Midwest

Bank intends to timely file a motion to dismiss Defendant Padilla's Amended Complaint. As such,

it is First Midwest’s position that discovery as it relates to Padilla's Amended Complaint should

be stayed until the parties to the Amended Complaint are at issue. It is First Midwest's position

that if Padilla or any other party needs discovery from First Midwest it could request such third-

party discovery akin to a third-party subpoena. However, First Midwest should not be forced to

incur the expenses and devote the resources to propound discovery to defend itself in a case that it

may not be determined a party therein.




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                3.     Padilla's position with respect to discovery with First Midwest is that

discovery should commence, as it will be impossible for fact discovery on the remaining issues in

this case to be concluded without participation by First Midwest. Further, Padilla believes that

First Midwest is or should be in possession of documents relevant to this matter that pertain to the

validity of the loans at issue, and that a postponement of discovery with First Midwest will put

Padilla at a significant disadvantage if she is unable to request those documents until the parties

are at issue.

        C. STATEMENT ON EXPERT OR ESI DISCOVERY.

                1.     Retention of experts is still being considered by the parties.

                2.     At this time, ESI discovery is not anticipated in this case.

        D. ADDITIONAL PENDING MATTERS OR ISSUES.

                1.     Chase has filed a Motion for Partial Summary Judgment, and briefing on

 the motion will be completed by July 6, 2021.

                2.     Third-Party Defendant First Midwest Bank intends to file a motion to

 dismiss Defendant Padilla's amended claims against it by June 17, 2021.




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             SUBMITTED JOINTLY AND BY AGREEMENT OF THE PARTIES:

Dated: May 28, 2021

PLAINTIFF JPMORGAN CHASE BANK, DEFENDANT FEDERAL DEPOSIT
NATIONAL ASSOCIATION           INSURANCE CORPORATION,
                               AS RECEIVER FOR WASHINGTON
                               FEDERAL BANK FOR SAVINGS

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DEFENDANT MARTHA PADILLA                       THIRD-PARTY DEFENDANT FIRST
                                               MIDWEST BANK

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